
706 S.E.2d 470 (2011)
STATE of North Carolina
v.
Kenneth Lee CORNELISON.
No. 60P11.
Supreme Court of North Carolina.
March 10, 2011.
James Freeman, Fayetteville, for Cornelison, Kenneth Lee.
Lisa Harper, Assistant Attorney General, for State of N.C.
J. Douglas Henderson, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 8th of February 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
JACKSON, J. recused.
